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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

1:24-mj-07150-JCB

                                UNITED STATES OF AMERICA

                                                 v.

                                         JASON HUNTER

                           ORDER OF VOLUNTARY DETENTION

                                           April 4, 2024


Boal, M.J.

       The defendant, Jason Hunter, is charged in a complaint with conspiracy to distribute and

to possess with intent to distribute methamphetamine and marijuana in violation of 21 U.S.C. §

846. An initial appearance was held on April 4, 2024, at which time the government moved for

detention. At that time, the defendant, represented by counsel, elected to voluntarily consent to

detention without prejudice.

       Accordingly, it is ORDERED that the defendant be DETAINED pending trial, and is

further ORDERED that:

       (1) the defendant be committed to the custody of the Attorney General for confinement

in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal;

       (2) the defendant be afforded reasonable opportunity for private consultation with

counsel; and

       (3) on order of a court of the United States or on request of an attorney for the
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government, the person in charge of the corrections facility in which the defendant is detained

and confined deliver the defendant to an authorized Deputy United States Marshal for the

purpose of any appearance in connection with a court proceeding.

       This order is without prejudice to the defendant filing a motion to consider the issue of

pre-trial detention, regardless of whether there have been changed circumstances. The defendant

may seek review of this order by filing a motion for revocation or amendment pursuant to 18

U.S.C. § 3145(b).

                                               /s/ Jennifer C. Boal
                                             JENNIFER C. BOAL
                                             United States Magistrate Judge




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